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                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                         TYLER DIVISION

GLOBAL GROUND AUTOMATION, INC.                            §
                                                          §
Plaintiff,                                                §
                                                          §
v.                                                        §      No. 6:15-cv-002 RWS-JDL
                                                          §
ORISSA HOLDINGS, LLC, GROUND                              §       JURY DEMANDED
MANAGEMENT HOLDINGS, LLC,                                 §
Individually and d/b/a GROUNSPAN, and                     §
GROUNDWIDGETS                                             §
Defendants.

                                            FINAL JUDGMENT

             Pursuant to the Court’s Order adopting the Report and Recommendation of the

      Magistrate
         .       Judge (Doc. No. 62), the Court hereby enters Final Judgment.

             It is therefore ORDERED, ADJUDGED and DECREED that the parties take nothing

      and that all pending motions are DENIED AS MOOT. All costs are to be borne by the party

      that incurred them.

             It is further ORDERED, ADJUDGED and DECREED that all claims, counterclaims,

      and third-party claims in the instant suit be DISMISSED in their entirety.

             The Clerk of the Court is directed to close this case.

             SIGNED this 2nd day of December, 2015.




                                                                 ____________________________________
                                                                 ROBERT W. SCHROEDER III
                                                                 UNITED STATES DISTRICT JUDGE
